  Case 17-01673      Doc 43   Filed 09/27/21 Entered 09/27/21 14:44:33              Desc Main
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                     Eastern Division

In Re:                                      )               BK No.:     17-01673
CHRISTINE M. BREWER,                        )
and                                         )               Chapter: 13
MICHAEL K. BREWER,                          )
                                                            Honorable Jacqueline P Cox
                                            )
                                            )
              Debtor(s)                     )

                ORDER GRANTING MOTION TO VACATE PAYROLL ORDER

       THIS MATTER coming to be heard on the motion of the Debtors, the Court having jurisdiction
over the parties and the subject matter and being duly advised in the premises and due notice having
been given to the parties entitled thereto:

It is hereby ORDERED that:

  1) The payroll order entered on January 25, 2017, is vacated.

  2) Payroll deductions from Mrs. Brewer's payroll check shall cease.




                                                         Enter:


                                                                   Honorable Jacqueline Cox
Dated: September 27, 2021                                         United States Bankruptcy Judge

 Prepared by:
 Michael R. Colter, II ARDC # 6304675
 David M. Siegel & Associates, LLC
 790 Chaddick Drive
 Wheeling, IL 60090
 (847) 520-8100
